               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE LEAGUE
OF WOMEN VOTERS OF NORTH CAROLINA,
DONNA PERMAR, JOHN P. CLARK, MARGARET
B. CATES, LELIA BENTLEY, REGINA
WHITNEY EDWARDS, ROBERT K. PRIDDY II,
WALTER HUTCHINS, AND SUSAN SCHAFFER,


                 Plaintiffs,

            v.

THE NORTH CAROLINA STATE BOARD OF
ELECTIONS; DAMON CIRCOSTA, in his
official capacity as CHAIR OF THE
STATE BOARD OF ELECTIONS; STELLA
ANDERSON, in her official capacity
as SECRETARY OF THE STATE BOARD OF          Civil Action
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE          No. 20-cv-00457
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in
his official capacity as MEMBER OF            LEGISLATIVE DEFENDANTS’
THE STATE BOARD OF ELECTIONS; DAVID         MOTION TO DISMISS IN PART
C. BLACK, in his official capacity          PLAINTIFFS’ SECOND AMENDED
as MEMBER OF THE STATE BOARD OF                      COMPLAINT
ELECTIONS; KAREN BRINSON BELL, in her
official capacity as EXECUTIVE
DIRECTOR OF THE STATE BOARD OF
ELECTIONS; THE NORTH CAROLINA
DEPARTMENT OF TRANSPORTATION; J. ERIC
BOYETTE, in his official capacity as
TRANSPORTATION SECRETARY; THE NORTH
CAROLINA DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MANDY COHEN, in her
official capacity as SECRETARY OF
HEALTH AND HUMAN SERVICES,


                 Defendants,

                 and




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PHILIP E. BERGER, in his official
capacity as PRESIDENT PRO TEMPORE OF
THE NORTH CAROLINA SENATE; and
TIMOTHY K. MOORE, in his official
capacity as SPEAKER OF THE NORTH
CAROLINA HOUSE OF REPRESENTATIVES,


                Legislative Defendant-
                Intervenors.




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            LEGISLATIVE DEFENDANTS’ MOTION TO DISMISS
          PLAINTIFFS’ SECOND AMENDED COMPLAINT IN PART


     Pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6), Legislative Defendants respectfully move for this Court

to dismiss counts 1, 2, 3, and 4 of Plaintiffs’ second amended

complaint (Doc. 30). The motion should be granted for the reasons

stated in the accompanying brief in support.



Dated: July 2, 2020                    Respectfully submitted,

/s/ Nicole J. Moss                     /s/ David H. Thompson
Nicole J. Moss (State Bar No.          David H. Thompson
31958)                                 Peter A. Patterson
COOPER & KIRK, PLLC                    Steven J. Lindsay*
1523 New Hampshire Avenue, NW          COOPER & KIRK, PLLC
Washington, D.C. 20036                 1523 New Hampshire Avenue, NW
(202) 220-9600                         Washington, D.C. 20036
nmoss@cooperkirk.com                   (202) 220-9600
                                       dthompson@cooperkirk.com
Local Civil Rule 83.1 Counsel
for Legislative Defendant-             Counsel for Legislative
Intervenors                            Defendant-Intervenors

                                       *Notice of Appearance
                                       Forthcoming




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                       CERTIFICATE OF SERVICE

     The undersigned counsel hereby certifies that on the 2nd day

of July, 2020, she electronically filed the foregoing Legislative

Defendants’ Motion To Dismiss in Part Plaintiffs’ Second Amended

Complaint with the Clerk of the Court using the CM/ECF system,

which will send notification of such to all counsel of record in

this matter.



                                      /s/ Nicole J. Moss
                                      Nicole J. Moss




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